              Case 2:21-cv-01315-RSM Document 14 Filed 11/05/21 Page 1 of 2




 1                                                                    The Honorable Ricardo S. Martinez
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                                 NO. CV21-1315-RSM
11                             Plaintiff,
                                                                ORDER GRANTING JOINT
12                        v.                                    MOTION TO STAY CIVIL CASE
13    $213,159.84 IN U.S. FUNDS, AND ANY
      ACCRUED INTEREST, et al.,
14
15                             Defendants.

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17          THIS MATTER having come before the Court on the joint motion of the parties to
18 stay this proceeding pending completion of a related criminal investigation pursuant to 18
19 U.S.C. §§ 981(g)(1) and (g)(2), and the Court having considered the matter and good
20 cause appearing therefore;
21          IT IS HEREBY ORDERED that the parties’ joint motion to stay this proceeding
22 pursuant to 18 U.S.C. §§ 981(g)(1) and (g)(2) is GRANTED, and this matter is hereby
23 stayed pending the conclusion of the related criminal investigation involving Claimant
24 Eugene McGee, or until further order of the Court.
25          IT IS FURTHER ORDERED that the time for Claimants to file an answer or
26 other responsive pleading to the Complaint pursuant to Rule G(5)(b) of the Supplemental
27 Rules for Admiralty and Maritime Claims and Asset Forfeiture is tolled from the date of
28 the filing of the Joint Motion for Stay through the date of the entry of this Order.
     ORDER GRANTING JOINT MOTION TO STAY CIVIL CASE - 1                               UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
     U.S. v. $213,159.84 in Funds, and Any Accrued Interest, et al., CV21-1315-RSM     SEATTLE, WASHINGTON 98101
                                                                                             (206) 553-7970
               Case 2:21-cv-01315-RSM Document 14 Filed 11/05/21 Page 2 of 2




 1           IT IS FURTHER ORDERED that any party may request a lifting of the stay at
 2 any time pursuant to a written motion.
 3           IT IS FURTHER ORDERED that the persons and entities to whom the United
 4 States provided direct notice of this proceeding on or about September 28, 2021, shall
 5 have an additional 35 days, from the date the Court lifts the proposed stay, to file a claim
 6 in this proceeding.
 7           IT IS FURTHER ORDERED that in the event that the related criminal
 8 investigation has not been completed, the parties shall file a Status Report within six
 9 months of the entry of this Order.
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11           DATED this 5th day of November, 2021.
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15
                                                       A
                                                       RICARDO S. MARTINEZ
                                                       CHIEF UNITED STATES DISTRICT JUDGE
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19
20 Presented by:
21
22   s/Krista K. Bush
23   KRISTA K. BUSH
     Assistant United States Attorney
24   700 Stewart Street, Suite 5220
25   Seattle, WA 98101-3903
     Telephone: (206) 553-2242
26   Krista.Bush@usdoj.gov
27
28
      ORDER GRANTING JOINT MOTION TO STAY CIVIL CASE - 2                               UNITED STATES ATTORNEY
                                                                                      700 STEWART STREET, SUITE 5220
      U.S. v. $213,159.84 in Funds, and Any Accrued Interest, et al., CV21-1315-RSM     SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
